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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                     Debtors.1                         (Jointly Administered)

                                                                       Re: Docket 136, 603

      SECOND SUPPLEMENTAL DECLARATION OF DEBRA I. GRASSGREEN IN
     SUPPORT OF DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY
    AND RETAIN PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL FOR THE
               DEBTORS EFFECTIVE AS OF THE PETITION DATE


I, Debra I. Grassgreen, Esquire, declare under penalty of perjury as follows:

          1.     I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or

the “Firm”), with an office address of 150 California Street, 15th Floor, San Francisco, CA

94111-4500. I am duly admitted to practice law in the State of California and have been

admitted pro hac vice in theses. This second supplemental declaration (the “Second

Supplemental Declaration”) is submitted in support of the Debtors’ Application for

Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the

Debtors Effective as of the Petition Date (the “Application”), filed on August 24, 2023 at Docket

No. 136.2        Except as set forth herein, the statements contained in my original declaration

submitted with the Application and my first supplement filed on October 19, 2023 [D.I. 603] (the

“First Supplemental Declaration”) filed on remain true and correct.


1        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.
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    Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.
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        2.       On October 17, 2023, the ad hoc group of holders of the 1.50% Convertible

Senior Notes due 2026 (the “AHG”) filed its Amended Verified Statement of the Ad Hoc

Noteholder Group Pursuant to Bankruptcy Rule 2019 [D.I. 579] adding Camden Asset

Management. L.P. as a member of the AHG.                The general counsel of Camden Asset

Management, L.P. is the son of PSZJ partner, Iain Nasatir. Mr. Nasatir’s practice consists

primarily of analyzing and advising on insurance issues for PSZJ clients. He has analyzed and

may continue to analyze insurance issues for the Debtors. Mr. Nasatir and his son do not reside

in the same household and do not discuss the Debtors’ cases.

        3.       Neither the Firm, nor any associate, of counsel, or partner of the Firm, has an

interest materially adverse to the interests of the Debtors, their estates, or of any class of

creditors, by reason of any direct or indirect relationship to, connection with, or interest in the

Debtors or for any other reason.

        4.       Based on the Firm’s ongoing conflict check as described above, the Firm is

presently not aware of any adverse interest or other connection with the Debtors, their creditors,

the U.S. Trustee or any party-in-interest herein in the matters upon which the Firm is to be

retained. Upon further and continuing review of lists of all creditors and interested parties, the

Firm will make any further disclosures as may be appropriate.

        5.       Accordingly, I believe the Firm is a “disinterested person” as that term is defined

in section 101(14) of the Bankruptcy Code.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 31, 2023                                       /s/ Debra I. Grassgreen
                                                              Debra I. Grassgreen


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